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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

AUTHORS GUILD, et al., individually and on      Case No. 1:23-cv-08292-SHS
behalf of others similarly situated,            Case No. 1:23-cv-10211-SHS
                                                Case No. 1:23-cv-11195-SHS
                       Plaintiffs,              Case No. 1:24-cv-00084-SHS

       v.
                                                MEMORANDUM OF POINTS AND
OPEN AI INC., OPENAI OPCO LLC, OPENAI           AUTHORITIES IN SUPPORT OF
GP LLC, OPENAI, LLC, OPENAI GLOBAL              MOTION TO INTERVENE AND
LLC, OAI CORPORATION LLC, OPENAI                DISMISS, STAY OR TRANSFER
HOLDINGS LLC, OPENAI STARTUP FUND I
LP, OPENAI STARTUP FUND GP I LLC,
OPENAI STARTUP FUND MANAGEMENT
LLC, and MICROSOFT CORPORATION,

                       Defendants.

JONATHAN ALTER, et al., on behalf of
themselves and all others similarly situated,

                       Plaintiffs,

       v.

OPEN AI INC., OPENAI OPCO LLC, OPENAI
GP LLC, OPENAI, LLC, OPENAI GLOBAL
LLC, OAI CORPORATION LLC, OPENAI
HOLDINGS LLC, OPENAI STARTUP FUND
I LP, OPENAI STARTUP FUND GP I LLC,
OPENAI STARTUP FUND MANAGEMENT
LLC, and MICROSOFT CORPORATION,

                       Defendants.

THE NEW YORK TIMES COMPANY

                       Plaintiffs,

       v.

MICROSOFT CORPORATION, OPENAI,
INC., OPENAI LP, OPENAI GP, LLC,
OPENAI, LLC, OPENAI OPCO LLC, OPENAI
GLOBAL LLC, OAI CORPORATION, LLC,
and OPENAI HOLDINGS, LLC,
                       Defendants.
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NICHOLAS A. BASBANES and NICHOLAS
NGAGOYEANES (professionally known as
Nicholas Gage), individually and on behalf of
all others similarly situated,

                     Plaintiffs,

       v.

MICROSOFT CORPORATION, OPENAI,
INC., OPENAI GP, L.L.C., OPENAI
HOLDINGS, LLC, OAI CORPORATION,
LLC, OPENAI GLOBAL, LLC, OPENAI,
L.L.C., and OPENAI OPCO, LLC,

                     Defendants.
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        I.      INTRODUCTION

        Plaintiff-Intervenors Paul Tremblay, Sarah Silverman, Christopher Golden, Richard

Kadrey, Michael Chabon, Ta-Nehisi Coates, Junot Díaz, Andrew Sean Greer, David Henry

Hwang, Matthew Klam, Laura Lippman, Rachel Louise Snyder, Ayelet Waldman, and Jacqueline

Woodson (collectively, “Tremblay Plaintiffs”) are named Plaintiffs in the first-filed class action

entitled Tremblay et al. v. OpenAI, Inc. et al., Case No. 3:23-cv-03223-AMO (N.D. Cal. June 28,

2023) (the “Tremblay Action”).1 They are book authors and playwrights who initiated the first

litigation in the United States alleging that OpenAI Inc. and its affiliate entities (collectively,

“OpenAI”) infringed authors’ copyrights when they made unauthorized copies of Plaintiffs’

copyrighted works to train artificial-intelligence products known as large language models. On

June 28, 2023, after a significant and lengthy pre-filing investigation, Plaintiffs’ attorneys filed

the Tremblay Action. Lawsuits subsequently filed in the Southern District of New York,

beginning three months later with Authors Guild et al. v. Open AI, Inc. et al., Case No. 1:23-cv-

08292-SHS (S.D.N.Y.) (“Authors Guild Action”), consist of substantially similar allegations and

claims against OpenAI. The Tremblay Action was pending in the Northern District of California

well-before the filing of the Authors Guild Action, or any of the subsequently filed S.D.N.Y.

Actions.

        The Tremblay Plaintiffs’ Complaint was the first in the United States to allege that

OpenAI committed direct copyright infringement when it made copies of the Tremblay Plaintiffs’

books—without the Tremblay Plaintiffs’ permission—in order to train OpenAI’s language

models. Now, there are numerous copycat cases—including all of the lawsuits pending before

this Court. Meanwhile, the Tremblay Action has substantially advanced with motion practice and


1
 As described below, the Tremblay Action and all other related actions have been consolidated
under the master caption In re OpenAI ChatGPT Litigation, Master File No. 3:23-cv-03223-
AMO (N.D. Cal. 2023).

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discovery well underway. See Declaration of Christopher J. Hydal (“Hydal Decl.”), ¶¶ 6-7. A

case schedule has been entered in Tremblay, including dates through class certification and

Daubert motions. Tremblay Action, ECF No. 51.

       The subsequently filed S.D.N.Y. Actions are strikingly similar to the first-filed Tremblay

Complaint. Like the Tremblay Action, each of the S.D.N.Y. Actions asserts copyright

infringement claims arising from the impermissible copying and other use of Plaintiffs’ and other

authors’ copyrighted works used as training for OpenAI’s large language models, and the

commercial products based on that technology. Those claims share common or overlapping

theories of liability. Like the Tremblay Action, each of the S.D.N.Y. Actions asserts these claims

on behalf of classes entirely identical to or subsumed by the class first defined in the Tremblay

Action against OpenAI and its affiliates, who are also Defendants in all relevant actions. The

parties in the S.D.N.Y. Actions readily admit that the Tremblay Action was first-filed, pending,

and well underway in the Northern District of California.

       On October 6, 2023, the court in the Tremblay Action entered a pretrial schedule. This

was preceded by OpenAI making a highly unusual request: to litigate substantive issues before

class certification. Specifically, OpenAI sought to schedule motions for summary judgment

before motions for class certification. See Tremblay Action, ECF No. 50 at *12:4-5. After

OpenAI requested briefing on this issue, the court rejected OpenAI’s preferred approach, and

instead adopted and entered the schedule proposed by Plaintiffs, which provides that motions for

class certification will be heard first. The parties are proceeding according to that schedule.

Hydal Decl. ¶¶ 6-7.

       On November 22, 2023, OpenAI—which is represented by the same counsel in all

actions—still held the view that the Authors Guild Complaint is substantially similar to the first-

filed Tremblay Action. It, in fact, represented to this Court it would seek dismissal of the

substantially similar Authors Guild Complaint under the first-to-file rule:

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       Defendants anticipate filing a motion to dismiss under the first-filed rule, or, in the
       alternative, to stay this action pending resolution of the three substantially similar
       putative class actions pending in the District Court for the Northern District of California,
       or, in the further alternative, to transfer this matter to the Northern District of California
       either under the first-filed rule or 28 U.S.C. § 1404(a).

ECF No. 31, ¶ 16.2 The Tremblay Plaintiffs relied on this misrepresentation.

       But recently, OpenAI changed course. Apparently unsatisfied, and aiming to undercut and

undo the Tremblay court’s scheduling order, OpenAI sought to enter a competing schedule in the

Southern District of New York. In so doing, OpenAI reversed itself, ignored its prior

representations and its stated intent to seek a stay and transfer of the S.D.N.Y. Actions. In

apparent exchange for the Authors Guild Plaintiffs’ agreement to the schedule rejected by the

Tremblay court, OpenAI agreed to forego its first-to-file motion, a motion to transfer, or indeed

any challenges to the Complaint in the S.D.N.Y. Actions. ECF No. 56, ¶¶ 1–3.

       By its blatant forum shopping, OpenAI is creating the likelihood—or certainty—of

inconsistent rulings in overlapping class actions and the attendant waste of judicial resources.

This is precisely the type of procedural gamesmanship the first-to-file rule was adopted to arrest.

       To avoid duplicative efforts, judicial waste, and potentially disparate rulings, the Court

should apply the first-to-file rule and dismiss, or in the alternative, stay or transfer the S.D.N.Y.

Actions.3

       II.     FACTUAL AND PROCEDURAL BACKGROUND

               A.      The Tremblay Action

       On June 28, 2023, author Paul Tremblay filed Tremblay et al. v. OpenAI, Inc. et al., Case

No. 3:23-cv-03223-AMO in the United States District Court for the Northern District of


2
  References to “ECF No.” shall refer to electronic filings in the Authors Guild Action unless
otherwise noted.
3
  In addition to this Motion, the Tremblay Plaintiffs have filed, in the In re OpenAI ChatGPT
Litigation, a motion to enjoin OpenAI and its counsel from proceeding in the S.D.N.Y. Actions
under the first-to-file rule. See Tremblay Action, ECF No. 98.

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California against OpenAI, Inc., OpenAI, L.P., OpenAI OpCo, L.L.C., OpenAI GP, L.L.C.,

OpenAI Startup Fund GP I, L.L.C., OpenAI Startup Fund I, L.P., and OpenAI Startup Fund

Management, L.L.C. (collectively, “Defendants”). The Tremblay Action asserts these claims on

behalf of all persons or entities domiciled in the United States who own a United States’

copyright in any work that was used as training data for the OpenAI Language Models during the

Class Period. See Hydal Decl. Ex. A (Tremblay Compl., ¶ 42). Specifically, Tremblay alleges

that OpenAI engaged in, created, maintained, and operated their large language models in

violation of the Tremblay Plaintiffs’ rights, including claims for Direct Copyright Infringement

(17 U.S.C. § 106); Vicarious Copyright Infringement (17 U.S.C. § 106); violation of the Digital

Millennium Copyright Act (17 U.S.C. § 1202 (b)) (“the DMCA”); and California state law

claims, including Unfair Competition (Cal. Bus. & Prof. Code §§ 17200, et seq.), Negligence,

and Unjust Enrichment. This was the first case in the United States bringing such claims and

asserting these theories on behalf of copyright protected authors.

       On July 7, 2023, Plaintiffs Sarah Silverman, Christopher Golden, and Richard Kadrey

filed their complaint alleging similar claims on behalf of an identical proposed class of plaintiffs.

See Hydal Decl. Ex. B (Silverman Compl.)

       On September 8, 2023, Plaintiffs Michael Chabon, David Henry Hwang, Matthew Klam,

Rachel Louise Snyder, and Ayelet Waldman filed their complaint captioned Chabon v. OpenAI,

Inc. et al., Case No. 23-cv-04625-CRB (N.D. Cal. 2023) on behalf of an identical proposed class

of plaintiffs. See Hydal Decl. Ex. C (Chabon Compl.). On October 5, 2023, the Chabon

complaint was amended to add Plaintiffs Laura Lippman, Jacqueline Woodson, Andrew Sean

Greer, Ta-Nehisi Coates, and Junot Díaz as additional Plaintiffs. See Hydal Decl. Ex. D (Chabon

Am. Compl.).

       As noted above, the actions pending in the Northern District of California—the original

Tremblay complaint, the Silverman complaint, and the amended Chabon complaint—have now

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been related and consolidated under the master caption In re OpenAI ChatGPT Litigation. ECF

Nos. 26, 53, 74.

       On October 6, 2023, the Tremblay court entered a pretrial schedule in the consolidated

actions. Tremblay Action, ECF No. 51. The schedule provides for discovery, class certification,

expert disclosures and Daubert motions. Id. Notably, over OpenAI’s objections, this scheduling

order sequences class certification before summary judgment. See id. The parties have also

briefed and argued a Rule 12 motion, conducted a Rule 26(f) conference, and exchanged initial

disclosures. Hydal Decl., ¶ 7. The parties have negotiated a protective order and are negotiating a

discovery protocol which will cover the production of electronically stored information.

Plaintiffs and OpenAI have each served requests for production and interrogatories. Id., ¶ 6. The

parties have also prepared and served written objections and responses to the various discovery

requests and met and conferred on discovery requests. Id.

               B.     The S.D.N.Y. Actions

       Following the Tremblay Action, four actions were filed in the Southern District of New

York. They are each essentially copies of Tremblay, some more obvious than others. Three

months after the Tremblay Action, on September 19, 2023, the Authors Guild filed its Complaint

against OpenAI, naming the identical affiliated OpenAI entities. ECF No. 1. Like the Tremblay

Action, the Authors Guild Action is brought on behalf of a nationwide class of authors which

overlaps with the class set forth in Tremblay. The Tremblay proposed class already includes all

such persons in the Authors Guild class. Like Tremblay, the Authors Guild Complaint alleges

claims for Copyright Infringement under 17 U.S.C. § 501, Vicarious Copyright Infringement,

and Contributory Copyright Infringement. Id., ¶¶ 44-46. In essence, like Tremblay, the Authors

Guild Action alleges facts and asserts claims against OpenAI for infringing Plaintiffs’ registered

Copyrights when training OpenAI’s large language models. Id.



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       On November 21, 2023, Julian Sancton filed in this Court a substantively similar class

action complaint against OpenAI and affiliated Defendants OpenAI, Inc., OpenAI GP, LLC,

OpenAI, LLC, OpenAI OpCo LLC, OpenAI Global LLC, OAI Corporation, LLC, OpenAI

Holdings, LLC, and Microsoft Corporation. Sancton et al. v. OpenAI, Inc. et al., No. 23-cv-

10211-SHS (S.D.N.Y. Nov. 21, 2023), ECF No. 1. On December 19, 2023, the Sancton

complaint was amended to add Jonathan Alter and others as Plaintiffs and recaptioned to become

Alter et al. v. OpenAI Inc. et al. (“Alter Action”). ECF No. 26 (Am. Compl.). Also like the

Tremblay Action, the Alter Action brings claims based on the use of Plaintiffs’ copyrighted

material in the training of Defendants’ large language models. The Alter Action asserts claims of

copyright infringement and contributory infringement. Id., ¶¶ 33-36. This Court has since related

and consolidated the Authors Guild Action and the Alter Action. ECF Nos. 56, 67.

       On December 27, 2023, The New York Times Company filed a complaint against

OpenAI (including its affiliates) and Microsoft Corporation. The N.Y. Times Co. v. Microsoft

Corp. et al., Case No. 1:23-cv-11195 (S.D.N.Y. Dec. 27, 2023) (“New York Times Action”). Like

its predecessors, the New York Times Action asserts a claim for direct copyright infringement,

vicarious copyright infringement, contributory copyright infringement, violation of the Digital

Millennium Copyright Act, common law unfair competition by misappropriation, and trademark

dilution. Id., ¶¶ 158-204. The New York Times Action is brought on behalf of a sole plaintiff that

is subsumed within the class asserted in the Tremblay Action.

       On January 5, 2024, Nicholas Basbanes and other Plaintiffs filed in this Court a

complaint against OpenAI (including its affiliates) and Microsoft Corporation. Basbanes et al. v.

Microsoft Corp. et al., No. 24-cv-00084 (S.D.N.Y. Jan. 5, 2024). Like the others, the Basbanes

Action asserts a claim for direct copyright infringement, vicarious copyright infringement, and

contributory copyright infringement. Id., ¶¶ 26-29. Also like the Authors Guild and Alter

Actions, the Basbanes Action brings these claims on behalf of a nationwide class of all authors,

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coextensive with the class asserted in the Tremblay Action. The Basbanes Action was

consolidated with the Authors Guild Actions on February 6, 2024. Basbanes Action, ECF No.

32.

       The S.D.N.Y. Actions largely duplicate the first-filed Tremblay Action. Each arises out

of the same nucleus of facts and is based on the same conduct and similar theories of liability.

Tremblay was the first case in the United States to allege claims arising from the impermissible

use of plaintiffs’ copyrighted material in connection with the training of OpenAI’s large

language models and commercialized generative AI products. The S.D.N.Y. Actions followed

suit, alleging substantially similar facts. Based on those facts, like Tremblay, they plead

substantially similar claims for direct copyright infringement, vicarious copyright infringement,

and contributory copyright infringement. They do so on behalf of proposed classes or plaintiffs

who are either identical to or are entirely subsumed by the proposed class defined in the first-

filed Tremblay Action pending in the Northern District of California.

       In fact, OpenAI agrees. See Tremblay Action, ECF No. 50 (Joint Case Management

Statement) (“The Parties are also aware of a case filed in the District Court for the Southern

District of New York . . . . The case appears to include duplicative causes of action.”). This basic

fact lies at the heart of OpenAI’s stated position that it would move to dismiss the Authors Guild

Action under the first-to-file rule. Meanwhile, the parties and the Northern District of California

court have advanced the Tremblay Action by consolidating the cases, negotiating and entering a

pretrial schedule, fully briefing a dismissal motion, and are continuing to conduct discovery.

       What changed? OpenAI failed to obtain the pretrial schedule it wanted from the

Tremblay court. After extensive argument and briefing by both OpenAI and the Tremblay

Plaintiffs, the Northern District of California adopted and entered the schedule suggested by the

Tremblay Plaintiffs. In particular, the Tremblay Plaintiffs sought to sequence the class

determination prior to summary judgment, which is the accepted procedure under Rule 23.

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       Once that schedule was entered, OpenAI reversed course, looking for a better deal. It

then decided it was better served by multiplying the proceedings and litigating subsequently filed

cases after it obtained the scheduling concessions it preferred from Plaintiffs in the S.D.N.Y.

Actions. ECF No. 65. Despite the Tremblay court’s scheduling order, despite the parties’

attempts in compliance with that order, and despite its prior representations, OpenAI decided to

proceed in a more favorable district. Defendants’ forum shopping violated the first-to-file rule

and should not be allowed.

       III.    THE COURT SHOULD PERMIT INTERVENTION

               A.      The Court Should Permit Intervention as a Matter of Right

       Under Federal Rule of Civil Procedure 24(a)(2), intervention as a matter of right is

appropriate where: an applicant (1) timely claims (2) an interest relating to the property or

transaction which is the subject of the action and (3) is so situated that the dispositions of the

action may as a practical matter impair or impede the applicant’s ability to protect that interest,

(4) unless his or her interest is adequately represented by existing parties. AB ex rel. CD v.

Rhinebeck Cent. Sch. Dist., 224 F.R.D. 144, 155 (S.D.N.Y. 2004) (citing Wash. Elec. Coop., Inc.

v. Mass. Mun. Wholesale Elec. Co., 922 F.2d 92, 96 (2d Cir. 1990).

       Timeliness of a motion to intervene is assessed by considering the totality of the

circumstances. Red Rock Sourcing LLC v. JGX, LLC, No. 21 Civ. 1054 (JPC), 2023 WL

1468980, at *4 (S.D.N.Y. Feb. 2, 2023); see also Sec. & Exch. Comm’n v. Berman, No. 20 Civ.

10658 (LAP), 2021 WL 2895148, at *2 (S.D.N.Y. June 8, 2021) (finding motion to intervene

filed within three months after being served with complaint timely); Olin Corp. v. Lanora Ins.

Co., 325 F.R.D. 85, 88 (S.D.N.Y. 2018) (granting motion for intervention as of right even where

“discovery deadlines have come and gone[.]”).

       Here, the Tremblay Plaintiffs have timely filed a Motion to intervene for the limited

purpose of bringing this Motion to Dismiss, Stay or Transfer this Action Pursuant to the first-to-

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file rule. Each of the S.D.N.Y. Actions was filed well after the first-filed Tremblay Action and

within the past five months, with several filed within the past month and a half or so. Upon

learning of the substantially similar cases filed in S.D.N.Y., Plaintiffs’ counsel in Tremblay

immediately investigated whether intervention was warranted. Hydal Decl., ¶ 8. In particular, the

Tremblay Plaintiffs sought to determine OpenAI’s position with respect to the subsequently filed

S.D.N.Y. Actions. OpenAI’s counsel informed Plaintiffs’ counsel that it intended to proceed in

the Northern District of California, where the first-filed Tremblay Action is pending, and would

move to dismiss or to transfer the Authors Guild Action under the first-to-file rule. This position

was subsequently confirmed by defense counsel in statements made to this Court:

       Defendants anticipate filing a motion to dismiss under the first-filed rule, or, in the
       alternative, to stay this action pending resolution of the three substantially similar
       putative class actions pending in the District Court for the Northern District of California,
       or, in the further alternative, to transfer this matter to the Northern District of California
       either under the first-filed rule or 28 U.S.C. § 1404(a).

ECF No. 31, ¶ 16. The Tremblay Plaintiffs relied on these representations when made.

       As soon as the Tremblay Plaintiffs learned that OpenAI had reversed course and would

not move to dismiss the Authors Guild Action under the first-to-file rule, they began working on

the instant Motion. This Motion, which seeks to avoid piecemeal litigation, judicial inefficiency

and possibly contradictory rulings under the first-to-file doctrine, is timely and should be

considered at this juncture.

       The second and third requirements of Rule 24(a)(2) are also met because the Tremblay

Plaintiffs have an interest in avoiding contradictory rulings. Cascade Nat. Gas Corp. v. El Paso

Nat. Gas Co., 386 U.S. 129, 134 (1967) (“If an absentee would be substantially affected in a

practical sense by the determination made in an action, he should, as a general rule, be entitled to

intervene . . .”). As explained in more detail below, both the first-filed Tremblay Action and the

S.D.N.Y. Actions involve the same substantive questions of copyright law. Further, the

consolidated Authors Guild Action is being litigated on behalf a class that is coextensive with

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and entirely subsumed by the class defined in the first-filed Tremblay Action. The New York

Times Action is brought on behalf of a sole Plaintiff that is subsumed by the class asserted in the

Tremblay Action. By its forum shopping, OpenAI is creating the likelihood–or certainty–of

inconsistent rulings in overlapping class actions and the attendant waste of judicial resources.

Consequently, the Tremblay Plaintiffs “should . . . be entitled to intervene[.]” Id. The risk of

inconsistent rulings and needless expenditure of judicial resources is all but guaranteed if the

S.D.N.Y. Actions are permitted to proceed.

       With respect to the last requirement, courts in the Second Circuit permit intervention

unless the interests of the existing parties are “so similar to those of [the Tremblay Plaintiffs] that

adequacy of representation is assured.” Brennan v. N.Y.C. Bd. of Educ., 260 F.3d 123, 132-33

(2d Cir. 2001). Certainty about how existing parties will litigate is not required. See Trbovich v.

United Mine Workers of Am., 404 U.S. 528, 538 (1972) (finding sufficient doubt about the

adequacy of representation satisfies the adequacy element of Rule 24(a)(2)). Here, the interests

between the Tremblay Plaintiffs and the S.D.N.Y. Plaintiffs are incongruent. First, the Authors

Guild, an advocate and promoter of generative AI, has already disclosed its plan to work with

a management organization to license copyrights and other intellectual property to companies

commercializing or monetizing generative AI products such as OpenAI. See infra, n.4. Forcing

the Tremblay Plaintiffs to commit to a licensing regime controlled by a third party would

unfairly limit and restrict the remedies available to the Tremblay Plaintiffs.4 Second, the Authors

Guild Action purports to represent classes that duplicate and are entirely subsumed by the

proposed class in Tremblay. Thus, the Tremblay Plaintiffs’ interests are not likely to be


4
  See Authors Guild, FAQs on the Authors Guild’s Positions and Advocacy Around Generative
AI (last visited Feb. 5, 2024) https://authorsguild.org/advocacy/artificial-intelligence/faq/
(“Authors Guild is proposing to create a collective license whereby a collective management
organization (CMO) would license out rights on behalf of authors, negotiate fees with the AI
companies, and then distribute those payment to authors who register with the CMO.”).

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adequately represented by the S.D.N.Y. Plaintiffs. Accordingly, intervention as a matter of right

is appropriate.

                  B.    In the Alternative, Permissive Intervention is Appropriate

        Permissive intervention is appropriate where (1) the motion is timely; (2) the proposed

intervenors have “a claim or defense that shares with the main action a common question of law

or fact”; and (3) intervention will not “unduly delay or prejudice the adjudication of the original

parties’ rights.” Fed. R. Civ. P. 24(b).

        Here, the Court should permit intervention for the limited purpose of filing this Motion to

Dismiss, Stay, or Transfer. As discussed below, the S.D.N.Y. Actions involve substantially

similar Defendants, the same putative nationwide class, the same artificial intelligence

technology, and the allegations, claims and proposed classes are substantially similar to those

before the court in the first-filed Tremblay Action—all of which was known to the Authors Guild

and their counsel at the time of filing. See, e.g., Authors Guild, AG Statement on Writers’

Lawsuits Against OpenAI (June 29, 2023) https://authorsguild.org/news/statement-on-writers-

lawsuits-against-openai/ (“We applaud [the Tremblay Plaintiffs] for asserting their rights in the

lawsuits against OpenAI, and we are standing by to provide support if requested.”); ECF No. 31,

¶ 16, n.2 (identifying the Tremblay Actions in their joint Rule 26(f) Report and Proposed Case

Management Plan). Accordingly, the Tremblay Plaintiffs clearly have claims that share “common

questions of law or fact” with the S.D.N.Y. Actions. See Fed. R. Civ. P. 24(b); see also Pike Co.,

Inc. v. Universal Concrete Procs., Inc., 284 F. Supp. 3d 376, 296 (S.D.N.Y. 2018) (permitting

intervention where “claims involve the interpretation of the rights and obligations of the parties

within same contract.”).

        Permitting intervention will also not unduly delay or prejudice the parties’ rights. The

Tremblay Action is already substantially advanced and the litigation is proceeding apace. See

supra, section I. The S.D.N.Y. Actions, filed months afterwards, are well-behind. Given that

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there appear to be no Plaintiffs in the S.D.N.Y. Actions who are not part of the proposed

Tremblay class, and the claims are identical, permitting intervention here will not cause any

prejudice to the S.D.N.Y. Plaintiffs. The S.D.N.Y. Plaintiffs will continue to be represented

should this Court stay, dismiss, or transfer the S.D.N.Y. Actions.5 See Lau v. Wells Fargo & Co.,

No. 20-CV-03870 (AJN), 2021 WL 1198964, at *2 (S.D.N.Y. Mar. 30, 2021) (dismissing

subsequent action under first-to-file rule, and noting plaintiffs in subsequently-filed class action

would not be prejudiced because they could opt-in to the class in first-filed action).

       OpenAI’s rights will also not be prejudiced or delayed. They are already parties to and

have been defending against the Tremblay Action. Further, Defendants have already appeared in

Tremblay, and are fully engaging with the Tremblay Plaintiffs’ counsel, including by actively

engaging in all aspects of discovery. See supra, section II.A.

       In sum, the permissive intervention requested in the alternative here is appropriate and

necessary to apply and enforce the well-established first-to-file rule to avoid the judicial

inefficiency and likely contradictory rulings that will result if parallel and near-identical class

actions proceed in two different districts. Accordingly, the Court should grant this Motion and

permit intervention.




5
  The converse, however, is not true. The Tremblay Plaintiffs may not have their interests
represented if the S.D.N.Y. Actions are permitted to proceed. The Authors Guild has stated its
intent to explore licensing deals with OpenAI, and it is a promoter of generative AI. See Authors
Guild, FAQs on the Authors Guild’s Positions and Advocacy Around Generative AI (last visited
Feb. 5, 2024) https://authorsguild.org/advocacy/artificial-intelligence/faq/ (“Authors Guild is
proposing to create a collective license whereby a collective management organization (CMO)
would license out rights on behalf of authors, negotiate fees with the AI companies, and then
distribute those payment to authors who register with the CMO.”). Allowing the later-filed
S.D.N.Y. Actions to proceed not only risks conflicting court decisions, but also risks the interests
and rights of the Tremblay Plaintiffs in fully prosecuting their rights and recovering complete
relief.

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        IV.     THE FIRST-TO-FILE RULE WARRANTS DISMISSAL OF THE S.D.N.Y.
                ACTIONS, OR IN THE ALTERNATIVE, A STAY OR TRANSFER OF
                VENUE

        First-to-file motions provide the mechanism to address and prevent litigation of similar

subsequently filed cases. N.Y. Marine & Gen. Ins. Co. v. Lafarge N. Am., Inc., 599 F.3d 102, 112

(2d Cir. 2010) (“Where there are two competing lawsuits, the first suit should have priority.”).

The rule is a “well-settled principle in this Circuit.” First City Nat’l Bank & Tr. Co. v. Simmons,

878 F.2d 76, 79 (2d Cir. 1989). “The rule applies where ‘the claims, parties, and available

relief . . . [do] not significantly differ between the actions,’ but ‘the issues need not be identical’

so long as ‘the named parties . . . represent the same interests.’” Lau, 2021 WL 1198964 at *2

(quoting Oleg Cassini, Inc. v. Serta, Inc., No. 11 Civ. 875 PAE, 2012 WL 844282, at *3

(S.D.N.Y. Mar. 13, 2012)). “Generally, there is a strong presumption in favor of the forum of the

first-filed suit.” 800-Flowers, Inc. v. Intercontinental Florist, Inc., 860 F. Supp. 128, 131

(S.D.N.Y. 1994). The first-filed rule “should not be disregarded lightly.” Id. at 132 (citing

Alltrade, Inc. v. Uniweld Prods., Inc., 946 F.2d 622, 625 (9th Cir. 1991)).

        The first-to-file rule aims to prevent “duplicative litigation.” U.S. ex rel. Cestra v.

Cephalon, Inc., No. 10 Civ. 6457 SHS, 2014 WL 1087960, at *4 (S.D.N.Y. Mar. 19, 2014)

(citing Emps. Ins. of Wausau v. Fox Ent. Grp., Inc., 522 F.3d 271, 275 (2d Cir. 2008)). More

specifically, the principle underlying the rule promotes “wise judicial administration, giving

regard to conservation of judicial resources and comprehensive disposition of

litigation . . . .” Kerotest Mfg. Co. v. C–O–Two Fire Equip. Co., 342 U.S. 180, 183 (1952).

Another purpose of the doctrine involves “considerations of comity” that militate against

multiple district courts simultaneously entertaining competing lawsuits. Cephalon, 2014 WL

1087960 at *4 (citing Byron v. Genovese Drug Stores, Inc., No. 10-CV-03313, 2011 WL

4962499, at *2 (E.D.N.Y. Oct. 14, 2011)).



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       The “central question” in determining whether the first-filed rule applies is whether

“there are two competing lawsuits.” Cephalon, 2014 WL 1087960, at *4 (citing N.Y. Marine &

Gen. Ins. Co., 599 F.3d at 112). Lawsuits compete where “the prior action concerned the same

parties and involved the same general dispute.” Gyadu v. Hartford Ins. Co., No. 97–7720, 1998

WL 30470, at *2 (2d Cir. Jan. 28, 1998). Where two actions constitute competing lawsuits,

“exceptions to the doctrine’s application are few and limited.” Id. at *3 (citing N.Y. Marine &

Gen. Ins. Co., 599 F.3d at 112). Indeed, the Second Circuit has “recognized only two exceptions

to the first-filed rule: (1) where the ‘balance of convenience’ favors the second-filed action . . .

and (2) where ‘special circumstances’ warrant giving priority to the second suit.” Emps. Ins. of

Wausau v. Fox Entm’t Grp., 522 F.3d 271, 275 (2d Cir. 2008).

               A.      The Tremblay Action and the S.D.N.Y. Actions are Competing
                       Lawsuits

       Lawsuits are competing where “the prior action concerned the same parties and involved

the same general dispute.” Cephalon, 2014 WL 1087960, at *4 (citing Gyadu, 1998 WL 30470,

at *2). To be “competing,” this Court has stated that the two lawsuits “need not be identical, they

must have ‘sufficient overlapping factual and legal issues.’” Id. at *3 (citing MasterCard Int’l,

Inc. v. Lexcel Sols., Inc., No. 03 Civ. 7157, 2004 WL 1368299, at *8 (S.D.N.Y. June 16,

2004)); Wyler–Wittenberg v. MetLife Home Loans, Inc., 899 F.Supp.2d 235, 244 (E.D.N.Y.

2012); Am. Steamship Owners Mut. Prot. & Indem. Ass’n, Inc. v. Lafarge N. Am., Inc., 474

F.Supp.2d 474, 481 (S.D.N.Y. 2007)).

       This Court has cautioned against an “overly formulistic approach” to the first-to-file

inquiry, making clear that such an approach “would undercut the conservation of judicial

resources and the efficient disposition of litigation.” Cephalon, 2014 WL 1087960, at *4.

“Lawsuits that feature both overlapping and non-overlapping claims cannot be inherently

disqualified from the first-filed rule, or else redundancy would abound and litigants could evade


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transfer by adding a non-duplicative claim to their pleadings.” Id. And, although “‘[t]he classic

context for applying the rule is where mirror-image lawsuits between the same parties are filed in

different venues, limiting the rule to that context would disserve judicial economy by promoting

litigation that is substantially duplicative but formally discrepant.” Id. (citation omitted).

       In Cephalon, this Court found two lawsuits to be competing where certain claims asserted

in each complaint described “essentially the same scheme.” Cephalon, 2014 WL 1087960, at *5.

There, the two lawsuits were filed against the same drug-manufacturer defendant, alleging

violations under the False Claims Act for the defendant’s promotion of certain “off-label” drugs.

Id. Even though the two lawsuits contained non-overlapping claims and involved non-

overlapping products manufactured by the defendant, “the common ground [was] substantial.”

Id. at *6. In assessing similarity, this Court observed that the concurrent litigation involved

sufficiently similar substantive issues that “presented redundancies that contravene the interests

of judicial economy and implicate issues of comity.” Id. Additionally, this Court noted that

although different relators brought each qui tam action, both relators brought the actions on

behalf of the federal government and various state governments. Id. at *5 (noting that one relator

sued on behalf of the United States and twenty-eight states, while the other sued on behalf of the

United States and all fifty states). Thus, this Court determined there was sufficient overlap

between the parties and claims in the two cases and transferred the subsequently filed case to the

Eastern District of Pennsylvania, where the first-filed case was pending. Id. at **5, 7.

       Here, the S.D.N.Y. Actions are competing with the first-filed Tremblay Action because

both lawsuits arise from the same nucleus of fact and law, and involve the same parties. Both the

S.D.N.Y. Actions and the Tremblay Action also include the same class (or a subset) of literary

authors seeking redress against essentially the same Defendants for the same infringing conduct.

Specifically, both lawsuits allege that OpenAI infringed plaintiffs’ copyrights when they made

copies of plaintiffs’ copyrighted works to train their large language models. Compare, Tremblay

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Compl., ECF. No. 1 (Hydal Decl. Ex. A.) with Authors Guild Action, ECF No. 69; Alter Action,

ECF No. 1; Basbanes Action, ECF No. 1; N.Y. Times Action, ECF No. 1. Indeed, all actions

bring causes of action for direct copyright infringement based on this theory. Like the Tremblay

Complaint, the subsequent Authors Guild Complaint alleges that OpenAI likely trained its large

language model using “two internet-based books corpora” called “Books1” and “Books2,” which

comprise copyrighted materials. Compare Hydal Decl. Ex. A (Tremblay Compl.) at ¶¶ 24-35

with ECF No. 1, ¶¶ 92-108. Similarly, the Authors Guild Complaint adopts the same theory of

prima facie liability alleged against OpenAI in the first-filed Tremblay Complaint—that

ChatGPT could create a detailed summary of specific infringed works. Hydal Decl. Ex. A

(Tremblay Compl.) at ¶¶ 5, 38-41 with ECF No. 1, ¶ 149.

       The fact that the Tremblay Action contains causes of action that do not entirely overlap

with those in the S.D.N.Y. Actions is of no moment.6 At their core, all actions allege claims

against OpenAI for its trespass and misuse of Plaintiffs’ exclusive rights under the Copyright

Act, and involve the same substantive questions of copyright law. Adjudication of these claims

by two separate district courts would “present[ ] redundancies that contravene the interests of

judicial economy . . .” Cephalon, 2014 WL 10878960 at *5.

       The parties in Tremblay sufficiently overlap with the parties in the S.D.N.Y. Actions.

Indeed, each member of the class asserted in the S.D.N.Y. Actions are members of the Tremblay

class. The proposed class in the Tremblay Action is coextensive with and entirely subsumes the

S.D.N.Y Actions. See Lau, 2021 WL 1198964, at *2 (finding second-filed action as brought on



6
  The Tremblay Action includes causes of action for violations of the Digital Millennium
Copyright Act – Removal of Copyright Management Information (“CMI”) (17 U.S.C. § 1202(b))
(“the DMCA”), Unfair Competition (Cal. Bus. & Prof. Code §§ 17200, et seq.), Negligence, and
Unjust Enrichment. The standard requires “substantial similarity.” The overlap between the
central causes of action is clear. Namely, Defendants violated copyright law by training large
language models on copyright protected works. There is more than substantial similarity here.

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behalf of the same persons as a first-filed action where class of plaintiffs was “entirely

subsumed” within collective definition in first-filed action); Cephalon, 2014 WL 10878960, at

*5 (similar).

          There is also more than sufficient overlap among the Defendants. Even though the later-

filed S.D.N.Y. Actions include certain affiliate entities not named in the first-filed Tremblay

Action, the difference is nominal and immaterial.7 See Kohn Law Grp. v. Auto Parts Mfg. Miss.,

Inc., 767 F.3d 1237, 1240 (9th Cir. 2015) (“[C]ourts have held that the first-to-file rule does not

require exact identity of the parties”); see also id. (collecting cases). The Defendants are

sufficiently overlapping for the purposes of the rule. See Cephalon, 2014 WL 1087960, at *4

(noting an “overly formulistic approach” to the first to file inquiry “would undercut the

conservation of judicial resources and the efficient disposition of litigation.”). Indeed, OpenAI

has conceded the two actions are sufficiently similar for purposes of the first-to-file rule. ECF

No. 31, ¶ 16.

                  B.      None of the Limited Exceptions to the First-to-File Rule Apply Here

          None of the exceptions to the first-to-file rule apply. Again, the Second Circuit has

    “recognized only two exceptions to the first-filed rule: (1) where the ‘balance of convenience’

    favors the second-filed action . . . and (2) where ‘special circumstances’ warrant giving priority

    to the second suit.” Fox Entm’t Grp., 522 F.3d at 275. Neither apply here. The balance of

    convenience weighs heavily in favor of the Tremblay Action. Likewise, the circumstances

    warrant giving priority to the first-filed Tremblay Action.




7
  The Defendants are all OpenAI affiliates. Many of them are the same. Even though the later-
filed S.D.N.Y. Actions include certain affiliate entities not named in the first-filed Tremblay
Action (OpenAI LLC, OpenAI Global LLC, and OpenAI Holdings LLC) the difference is
negligible because the non-overlapping parties are clearly affiliates of OpenAI.

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       In assessing the “balance of convenience” courts in this circuit look to “the ties between

the litigation and the forum of the first-filed action.” Id. (citing Motion Picture Lab’y Tech’ns

Loc. 780, I.A.T.S.E. v. McGregor & Werner, Inc., 804 F.2d 16, 19 (2d Cir. 1986)). And, “factors

relevant to the balance of convenience analysis are essentially the same as those considered in

connection with motions to transfer venue pursuant to 28 U.S.C. § 1404(a).” Fox Entm’t Grp.,

522 F.3d at 275. Among these factors are:

      (1) the plaintiff’s choice of forum, (2) the convenience of witnesses, (3) the
      location of relevant documents and relative ease of access to sources of proof, (4)
      the convenience of the parties, (5) the locus of operative facts, (6) the availability
      of process to compel the attendance of unwilling witnesses, and (7) the relative
      means of the parties.

       Here, the balance of convenience weighs heavily in favor of transfer to the Northern

District of California. OpenAI’s corporate headquarters is located in the Northern District of

California at 3180 18th Street in San Francisco, within a stone’s throw of the courthouse in

which the Tremblay Action was filed and is being litigated. The technology and the commercial

products at issue were created, developed, marketed, and sold from within the heart of the

Northern District of California. As a result, many of the relevant documents and sources of proof

are located in the Northern District of California. Plaintiffs chose this forum for that reason, as

well as the fact that the court routinely handles complex copyright and other commercial matters,

as well as class actions involving technology companies that are based there. In addition to party

witnesses, third parties and former employees are likewise located in the Northern District, well

within 100 miles of the courthouse and therefore can only there be compelled to appear at trial.

See Rule 45(c)(1) (100-mile rule). Substantial evidence is located there, the precipitating conduct

occurred there, and the vast majority of the witnesses work and reside there.

       In addition, the parties have retained counsel located in the Northern District of

California. It would be significantly more expensive to litigate this matter in New York, far away

from the witnesses and counsel. The balance of convenience therefore weighs heavily against

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allowing the litigation to proceed in the Southern District of New York.8

       Additionally, there are no “special circumstances” that warrant giving priority to the

later-filed S.D.N.Y. Actions. “Generally, a ‘special circumstances’ exception to the first-filed

rule exists where ‘forum shopping alone motivated the choice of the situs for the first suit.’” 800-

Flowers, Inc., 860 F. Supp., at 132 (citation omitted). In fact, consideration of those

circumstances supports enforcing the rule, not ignoring it. As OpenAI has made plain, it was its

stated intent to seek a transfer to the Northern District of California. ECF No. 31, ¶ 16. OpenAI

then reversed course and extracted scheduling concessions from Plaintiffs in the S.D.N.Y.

Actions, including the sequencing of summary judgment motions and class certification.9 In

other words, OpenAI decided not to move to dismiss under the first-to-file rule in Authors Guild

because those Plaintiffs agreed to give OpenAI what the Tremblay court would not—namely, its

preferred sequencing of case-management events. That is precisely the forum shopping the first-

to-file rule is designed and intended to prevent. See Robeson v. Howard Univ., 2002 WL 122913,

at *2 (S.D.N.Y. Jan. 30, 2002) (explaining that one exception to the first-to-file rule is to “protect

[ ] potential plaintiffs who wish to resolve a controversy amicably, ‘without fear that the

defendant will be permitted to take advantage of the opportunity to institute litigation in a district

of its own choosing . . .’”); 800-Flowers, Inc., 860 F. Supp. at 132. Giving priority to the


8
  There do not appear to be any relevant forum-selection clauses. While the claims arise under
federal copyright law, California clearly has an interest in regulating businesses and illegal
conduct which take place within its boundaries. California also has a large community of authors
and other persons affected by the challenged conduct and likely is home to far more class
members than any other single state. See eBay Inc. v. Digital Point Sols., Inc., 608 F. Supp. 2d
1156, 1162 (N.D. Cal. 2009) (“In the absence of an enforceable forum-selection clauses, it is
apparent that eBay has alleged sufficient facts to establish that venue is proper in this district.”).
9
  In the Tremblay Action, OpenAI sought a case schedule sequencing summary judgment before
class certification. Tremblay Action, ECF No. 50 at 8:25-7. Tremblay Plaintiffs opposed. Id. at
12:2-25. The court disagreed with OpenAI and sequenced class certification before summary
judgment. Tremblay Action, ECF No. 51. OpenAI then chose not to seek to dismiss, stay or
transfer the cases before this Court under the first-to-file rule.

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S.D.N.Y. Actions “would sanction the type of procedural gamesmanship and litigation tactics the

judicially declared exceptions to the first-to-file doctrine were designed to guard against.” Zero-

Techs., LLC v. The Clorox Co., No. 22-3989, 2024 WL 434169, at *12 (E.D. Pa. Jan. 30, 2024);

see also Kohn Law Grp., 767 F.3d at 1240 (explaining that the rule’s application “avoids

awarding such gamesmanship and is consistent with the policy of the first-to-file rule, which is to

maximize judicial economy, consistency, and comity.”).

               C.      The S.D.N.Y. Actions Should be Dismissed or Stayed

       It is well-established that “a district court has broad discretion to dismiss a lawsuit that is

duplicative of a prior action.” Thomas v. Apple-Metro, Inc., No. 14-CV-4120 VEC, 2015 WL

505384, at *2 (S.D.N.Y. Feb. 5, 2015). Under the first-to-file rule, there is a “strong

presumption” in favor of dismissal of a later-filed lawsuit. Oleg Cassini, 2012 WL 844284, at

*3 (emphasis added). Alternative forms of relief, such as transfer or stay of the later-filed action,

may be appropriate “if dismissal would create a ‘risk of prejudice’ to the parties in the later-filed

action.” Lau, 2021 WL 1198964, at *5 (citing Naula v. Rite Aid of N.Y., No. 08 CIV. 11364

(PGG), 2010 WL 2399364, at *5 (S.D.N.Y. Mar. 23, 2010)); see also AEI Life, LLC v. Lincoln

Ben. Life Co., 305 F.R.D. 37, 44 (E.D.N.Y. 2015) (“In the interest of judicial economy, the first-

to-file rule allows a court to stay an action that involves the same parties, issues, and facts as an

action currently pending in another court.”).

       Because the first-to-file rule requires that the Court here give priority to the first-filed

Tremblay Action, the Court should dismiss or stay the later-filed S.D.N.Y. Actions. Here,

dismissal is the preferred form of relief because there would be no resulting prejudice to the

S.D.N.Y. Plaintiffs—each are members of the proposed Tremblay class which bring virtually




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identical claims10 and violations of federal and state law. See Lau, 2021 WL 1198964, at *2

(dismissing subsequent action under the first-to-file rule, and noting plaintiffs in later-filed class-

action lawsuit would not be prejudiced because they could opt into first-filed class). In

dismissing the cases, the Court would relieve its docket from unnecessary and duplicative

matters.

       Accordingly, the Court should dismiss, or alternatively, stay this action.

               D.      Alternatively, the S.D.N.Y. Actions Should be Transferred

       If the Court determines that dismissal is not appropriate, notwithstanding the “strong

presumption” in favor of dismissal (Serta, 2012 WL 844284, at *3), the Court should transfer the

S.D.N.Y. Actions to the Northern District of California or stay further proceedings. Section

1404(a) allows a district court to transfer a case for the convenience of parties and witnesses to

“any other district or division where it might have been brought” if doing so is “in the interest of

justice.” 28 U.S.C. § 1404(a). Courts in the Second Circuit evaluate a potential transfer in two

steps. “The initial inquiry is whether the case could have been brought in the proposed transferee

district . . . .” 1724982 Alberta ULC v. Park Ave. Wholesale, Inc., No. 1:21-CV-04343-GHW,

2021 WL 3115125, at *2 (S.D.N.Y. July 20, 2021). “An action might have been brought in the

forum to which the movant seeks to transfer it if subject matter jurisdiction, personal jurisdiction,

and venue would have been proper in the transferee court at the time of filing.” Id. (citing City of

Pontiac Gen. Emps. Ret. Sys. v. Dell Inc., No. 14-cv-3644 (VSB), 2015 WL 12659925, at *2

(S.D.N.Y. Apr. 30, 2015) (internal quotation marks omitted)).



10
  The Tremblay Action contains causes of action for violations of the Digital Millennium
Copyright Act – Removal of Copyright Management Information (“CMI”) (17 U.S.C. § 1202
(b)) (“the DMCA”), Unfair Competition (Cal. Bus. & Prof. Code §§ 17200, et seq.), Negligence,
and Unjust Enrichment. The overlap between the central causes of action is clear. Namely,
defendants’ violations of copyright law by training large language models on copyright protected
works.

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        Here, the Northern District of California would have subject-matter jurisdiction over both

the S.D.N.Y. Actions and the Tremblay Action because the suits give rise to a federal question

under the Copyright Act. And, for the reasons discussed in section IV.B., supra, venue is proper

under section 1404(a). The facts giving rise to this case are centered in the Northern District of

California. The evidence, including third-party witnesses, is located there as well. Indeed, many

of those witnesses could not be compelled to travel from California to New York for trial. As

such, if the Court determines that dismissal is not warranted, a stay of proceedings or transfer to

the Northern District of California would be appropriate.

        Accordingly, the Court should give priority to the Tremblay Action under the first-to-file

rule.

        V.     CONCLUSION

        For the foregoing reasons, the Tremblay Plaintiffs respectfully request the Court grant

this Motion to intervene and grant their Motion to dismiss or, in the alternative, stay or transfer

the S.D.N.Y. Actions under the first-to-file rule.

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